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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK


                                         x
    In re PAYMENT CARD INTERCHANGE       :   MDL No. 1720(MKB)(JAM)
    FEE AND MERCHANT DISCOUNT            :
    ANTITRUST LITIGATION                 :   Civil No. 05-5075(MKB)(JAM)
                                         :
                                         :   RULE 23(b)(3) CLASS COUNSEL’S
                                         :   STATUS REPORT TO THE COURT’S
    This Document Relates To:                AUGUST 1, 2024 ORDER TO SHOW
                                         :
                                         :   CAUSE
             ALL ACTIONS.
                                         :
                                         x




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    I.       INTRODUCTION

             Pursuant to the Court’s August 1, 2024 Order to Show Cause (ECF 9372), Rule 23(b)(3)

    Class Counsel (“Class Counsel”) here provides the Court a status report regarding National

    Processing Alliance Inc.’s (“NPA”) response to the Order to Show Cause.

             In its monthly report filed July 26, 2024 (ECF 9363), Class Counsel requested an order to

    show cause regarding NPA. This request arose after Epiq received and then passed on a complaint

    from a class member regarding conduct by NPA.

             As required, Class Counsel served by email and overnight mail a copy of the Court’s August

    1, 2024 Order (see ECF 9373) and explained that NPA and Class Counsel had been given direction

    and deadlines by the Court. On August 6, 2024, having not heard from NPA, Class Counsel wrote

    an email to Thomas Fuhrman, Senior Vice President of NPA, the person with whom Class Counsel

    had previously interacted. He wrote back that same evening and attached certain responses to the

    items detailed in the Court’s Order to Show Cause.

             Class Counsel wrote back the next day (August 7, 2024) and questioned several of the

    responses as failing to answer the questions posed. Class Counsel requested a response by Friday,

    August 9, 2024 because of the upcoming deadline to update the Court. As of August 12, 2024 at

    12:00 p.m. PST / 3:00 p.m. EST, NPA has not responded.

             Class Counsel does not believe that NPA has properly responded to the Order to Show Cause

    and requests the Court order: (1) NPA to cease all claims-filing services in this action; (2) allow any

    merchants that have contracted with NPA to cancel their contract; and (3) bar NPA from taking any

    further role in the settlement.

             NPA has not responded further and did not fully answer Class Counsel’s questions. Below

    Class Counsel lists each item in the Order to Show Cause, NPA’s response as of August 6, 2024 and

    Class Counsel’s August 7, 2024 follow up:




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    ITEM 1 (ECF 9372 at 1):
             NPA shall explain whether NPA includes the Court-mandated disclaimers with all of
             its solicitations in connection with the current litigation, including oral
             solicitations[] . . . .

    NPA’S AUGUST 6, 2024 RESPONSE TO ITEM 1:
                        - In oral solicitations

                     A Regional Vice President will assist you with submitting the claims form on
             your behalf. Of course, there is no-cost to you for providing this service and Class
             Members need not sign up for any third-party service that charges a fee in order to
             participate in any monetary relief. Additional no-cost assistance will also be available
             from the Class Administrator and Class Counsel during the claims-filing period
             which ends on August 31st, 2024. The court-appointed website is Payment Card
             Settlement dot com.




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                        - In person




    CLASS COUNSEL’S AUGUST 7, 2024 RESPONSE TO ITEM 1:
                     As to Question 1: You have provided a statement regarding “in oral
             solicitations” and “in person” solicitations. Is it accurate that NPA does not contact
             class members via email or online marketing? Do you have scripts or other written
             materials that show the Court-mandated disclaimers?

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    ITEM 2 (ECF 9372 at 1):
                    NPA shall explain whether NPA purports to be from the official settlement
             administrator in its contacts with class members[] . . . .


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    NPA’S AUGUST 6, 2024 RESPONSE TO ITEM 2:
                      NPA does not purport to be from the official settlement admin administrator
             in its contacts with class members.

                        Reference: Authorization to File Claim (above).

    CLASS COUNSEL’S AUGUST 7, 2024 RESPONSE TO ITEM 2:
                     As to Question 2: You state that NPA “does not” purport to be from the
             official settlement administrator in its contacts with class members. We appreciate
             that your Authorization document contains the required disclaimers. However, the
             class member that complained specifically stated that she believed she was told that
             she was receiving a call from the Class Administrator. Can you provide any scripts
             (as requested above) that make clear that NPA is not the administrator?

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    ITEM 3 (ECF 9372 at 1-2):
                     NPA shall explain why it should not(a) provide Class Counsel with a list of
             any and all class members who have signed up for claims-filing services with NPA
             or any associated entity, and (b) provide written notice to any such class members so
             that they may cancel any contract entered into with NPA for claims-filing or other
             services related to the current litigation.

    NPA’S AUGUST 6, 2024 RESPONSE TO ITEM 3(a):
                  NPA plays by the rules. We provide full oral and written disclosures and
             members receive claims filing service without cost or obligation.

                     Our Authorization to File Claim form clearly states that class members
             receive claims form services at no cost. Disclosures, along with the court authorized
             website are present on the form.

    NPA’S AUGUST 6, 2024 RESPONSE TO ITEM 3(b):
                     With the exception of the Authorization to File Claim form, NPA does not
             enter any other contracts related to the claims-filing or other services related to the
             current litigation.

                     To be clear, NPA does not earn money for claims-filing or other services
             related to the current litigation.

                    Class members are protected by rule of law. The claims administrator is clear
             on conflicts, in that the class member retains final authority as to whom the member
             wish to provide the claims filing service.


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    CLASS COUNSEL’S AUGUST 7, 2024 RESPONSE TO ITEM 3(a):
                     As to Question 3(a): You state: “NPA plays by the rules.” You also state
             that you do not charge for services. Neither of these explanations explain why NPA
             should not provide Class Counsel with a list of any and all class members who have
             signed up for claims-filing services with NPA.

    CLASS COUNSEL’S AUGUST 7, 2024 RESPONSE TO ITEM 3(b):

                     As to Question 3(b): You state that with the exception of the “Authorization
             to File Claim form,” NPA does not enter into other contracts. You also state that
             NPA does not earn money for claims filing. Finally, you state class members are
             protected by rule of law and that the class member retains final authority as to whom
             the class member wish to provide claims filing services. This does not answer why
             NPA should not provide written notice to any such class members who signed up
             with NPA so that they may cancel any contract entered into with NPA for claims-
             filing or other services related to the current litigation. Your statement regarding the
             “rule of law” is unclear. Further, once an authorization to file has been accepted,
             barring a conflict, that authorization would be operative.

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    ITEM 4 (ECF 9372 at 2):
                      NPA shall provide Class Counsel with a copy of the purported recording of
             the call made to the class member that led to Class Counsel’s Request for an Order to
             Show Cause.

    NPA’S AUGUST 6, 2024 RESPONSE TO ITEM 4:

                    NPA does not have a recording of the call made to the class member that led
             to Class Counsel’s Request for Show Cause.

    CLASS COUNSEL’S AUGUST 7, 2024 RESPONSE TO ITEM 4:
                    As to Question 4: You state that “NPA does not have a recording of the call
             made to the class member that led to Class Counsel’s Request to Show Cause.” Can
             you explain why the recording is not available? When Class Counsel spoke with
             you, you indicated that all calls are recorded. Can you explain why, if all calls are
             recorded, this recording is not in NPA’s possession, custody or control? What is
             NPA’s policy or procedure regarding the recording of calls as well as the retention of
             such recordings?

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    II.      CONCLUSION

             Because NPA has not properly responded to the Order to Show Cause Class Counsel requests

    the Court order: (1) NPA to cease all claims-filing services in this action; (2) allow any merchants

    that have contracted with NPA to cancel their contract; and (3) bar NPA from taking any further role

    in the settlement.
    DATED: August 12, 2024                        Respectfully submitted,

                                                  ROBBINS GELLER RUDMAN
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